        Case 4:23-cv-05829-JSW Document 19-13 Filed 11/16/23 Page 1 of 3



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 8                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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10    DEFENSE FOR CHILDREN
      INTERNATIONAL – PALESTINE; AL-               Case No.: 23-cv-5829
11    HAQ; AHMED ABU ARTEMA;
12    MOHAMMED AHMED ABU ROKBEH;                   [PROPOSED] ORDER GRANTING
      MOHAMMAD HERZALLAH; A.N.;                    MOTION FOR PRELIMINARY
13    LAILA ELHADDAD; WAEIL ELBHASSI;              INJUNCTION
      BASIM ELKARRA; and DR. OMAR EL-
14    NAJJAR
15
                             Plaintiffs,
16
              v.
17
      JOSEPH R. BIDEN, JR., President of the
18    United States, ANTONY J. BLINKEN,
19    Secretary of State, LLOYD JAMES
      AUSTIN III, Secretary of Defense, in their
20    official capacities,
21                           Defendants.
22
           Plaintiffs Defense for Children International – Palestine, Al-Haq, Ahmed Abu Artema,
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24    Mohammed Ahmed Abu Rokbeh, Mohammad Herzallah, A.N., Laila Elhaddad, Waeil Elbhassi,

25    Basim Elkarra and Dr. Omar El-Najjar (collectively “Plaintiffs”) have moved this Court for a
26    Preliminary Injunction pursuant to Rule 65 of the Federal Rules of Civil Procedure, ordering
27
      Defendants Joseph R. Biden, Jr., Antony J. Blinken and Lloyd J. Austin III (collectively
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     [PROPOSED] ORDER GRANTING MOTION                                        Case No.: 23-cv-5829
     FOR PRELIMINARY INJUNCTION      1
        Case 4:23-cv-05829-JSW Document 19-13 Filed 11/16/23 Page 2 of 3



 1    “Defendants”) to comply with their duty under customary international law to prevent genocide, and
 2    to cease aiding and abetting, and otherwise furthering, the Israeli government’s genocidal campaign
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      against the Palestinian people in Gaza, through the provision of extensive military assistance, arms,
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      and other forms of support.
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           The Court, having considered the pleadings, legal authority, and argument presented in support
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 7    of Plaintiffs’ Motion, as well as all accompanying Declarations and evidence, and the pleadings and

 8    argument presented by Defendants, has found and concluded that Plaintiffs have demonstrated their

 9    entitlement to a Preliminary Injunction under Federal Rule of Civil Procedure 65 because they can
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      show: (1) a substantial likelihood of success on the merits, (2) irreparable harm in the absence of
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      preliminary relief, (3) that the equities weigh in favor of the Plaintiffs, and (4) that granting
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      preliminary relief would not be adverse to the public interest.
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           Plaintiffs have established a substantial likelihood of success on the merits of their claim that
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15    Defendants are in violation of their duty under customary international law to prevent genocide.

16    Plaintiffs have also established a substantial likelihood of success on the merits of their claim that
17    Defendants are aiding and abetting, and otherwise furthering, genocide through provision of
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      extensive military assistance, arms, and other support.
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           Accordingly, the Plaintiffs have met their burden for demonstrating their entitlement to
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      preliminary relief. The Court further finds that issuance of a Preliminary Injunction is proper
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22    pursuant to Rule 65(a) of the Federal Rules of Civil Procedure. Plaintiffs have made a sufficient

23    showing that immediate and irreparable injury will result if Defendants are not enjoined from aiding

24    and abetting, and otherwise furthering, genocide. Plaintiffs’ counsel has also demonstrated that they
25    took appropriate steps to provide Defendants notice of these proceedings. Fed. R. Civ. P. 65(a)(1).
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           The Court finds that Plaintiffs are not required to provide a Fed. R. Civ. P. 65(c) security
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      deposit pursuant to the public interest litigation exception to the bond requirement.
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     [PROPOSED] ORDER GRANTING MOTION                                                Case No.: 23-cv-5829
     FOR PRELIMINARY INJUNCTION      2
        Case 4:23-cv-05829-JSW Document 19-13 Filed 11/16/23 Page 3 of 3



 1         WHEREFORE, IT IS HEREBY ORDERED that Defendants, as well as their agents,
 2    employees, servants, attorneys, successors, and any person in active concert or participation with
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      them, are ENJOINED from engaging in activity that supports, aids and abets, or otherwise furthers,
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      the genocidal campaign against the Palestinian people in Gaza, including the transfer of any financial
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      or material assistance to Israel. Defendants are ordered to meet their obligations to comply with
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 7    customary international law to prevent genocide.

 8         IT IS FURTHER ORDERED that the security requirement of Fed. R. Civ. P. 65(c) is waived

 9    and that this Order is effective upon service.
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           Issued this __ day of __________, ____.
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                                                  U.S. District Judge
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     [PROPOSED] ORDER GRANTING MOTION                                                Case No.: 23-cv-5829
     FOR PRELIMINARY INJUNCTION      3
